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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA                           CRIMINAL ACTION

    VERSUS                                                       NO. 20-92

    AISHA THOMPSON                                        SECTION “R” (1)



                         ORDER AND REASONS


       Defendant, Aisha Thompson, was charged in an indictment on

September 18, 2020.1 Defendant’s rearraignment is set for October 6, 2021.

In the midst of the COVID-19 pandemic, Congress has allowed felony plea

hearings under Rule 11 of the Federal Rules of Criminal Procedure to be

conducted by videoconference when the hearing cannot be conducted in

person without seriously jeopardizing health and safety, and the Court finds

for specific reasons that the rearraignment cannot be delayed without serious

harm to the interests of justice. See Pub. L. No. 116-136, § 15002(b)(2), 134

Stat. 281, 528-29 (2020) [hereinafter “CARES Act.”].

       The Chief Judge of the Eastern District of Louisiana has specifically

found that felony plea hearings under Rule 11 cannot be conducted in person

without seriously jeopardizing public health and safety. See Eastern District


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of Louisiana, General Order 21-13. The Court finds pursuant to Section

15002(b)(2) of the CARES Act, and in accordance with General Order 21-13

of the Eastern District of Louisiana, that defendant’s rearraignment cannot

be further delayed without serious harm to the interests of justice. This is

specifically because of the backlog of cases caused by the COVID-19

pandemic.

     Defendant’s rearraignment hearing is therefore set for OCTOBER 6,

2021, at 10:30 a.m. The rearraignment hearing shall be conducted by

videoconference.


        New Orleans, Louisiana, this _____
                                      6th day of October, 2021.


                     _____________________
                          SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE




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